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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  HOT SPRINGS DIVISION


ERIC FLORES                                                                                PLAINTIFF

v.                                     Civil No. 6:14-cv-6042

UNITED STATES ATTORNEY GENERAL;                                                        DEFENDANTS
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
SIERRA MEDICAL CENTER, a Public Health Service


            REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

        ERIC FLORES filed this civil rights action pursuant to the Federal Tort Claims Act. ECF No.

1. He proceeds pro se and has been granted in forma pauperis status. He has also filed a Motion to

Transfer Multi district Litigation to the District of Columbia. ECF No. 2. The case is before the

undersigned for a determination of whether service of process should issue.

                                             Background

        In his complaint, Flores alleges unnamed Federal government employees have directed genetic

code-altering satellite transmissions from outer space at Mexican–American citizens. Flores maintains

these transmissions have resulted in severe injuries to him and to others. Flores suggests he would like

to obtain class-action certification for this complaint and represent all affected Mexican-American

citizens.

                                              Discussion

        Flores has made at least four prior attempts to pursue these same claims in the Federal courts

of the Western District of Texas. See Flores v. McDoug, EP-11-CV-260-FM, 2011 WL 2729192

(W.D. Tex. July 12, 2011) (discussion of the history of the various complaints filed by Flores in the

Western District of Texas). In each case, his complaints were dismissed as frivolous.

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        Flores also made the exact same claims in Flores v. United States Attorney General, et al,

Cause No. 4:12-cv-4144, filed in the Texarkana Division of this Court. The Honorable Susan O.

Hickey, dismissed that claim as frivolous on January 25, 2013.         In the Judgment dismissing the

complaint, Judge Hickey sanctioned Flores $350.00 and ordered the Clerk of this Court accept no

further filing from Flores unless he first satisfied the $350.00 sanction and requested permission from

the Court prior to filing a new complaint. A review of the Court’s docket in Cause No. 4:12-cv-4144,

reveals Flores has not paid the $350.00 sanction. Further, he did not seek permission from the Court

prior to filing the instant complaint. Judge Hickey’s Judgment was returned to the clerk as

undeliverable to Flores at 11669 Gwen Evans Lane, El Paso, Texas, the exact address he again uses in

this case.

        As noted in the Report and Recommendation filed in Cause No. 4:12-cv-4144 (ECF No. 5),

Flores has a lengthy history of other frivolous filings in the El Paso Division of the Western District of

Texas. Flores has disregarded clear warnings from that Court that "additional attempts to file frivolous

complaints, motions, or other documents will result in . . . sanctions." It is apparent that monetary

sanctions do little to deter Flores from filing frivolous pleadings with the Court.

                                              Conclusion

        I therefore recommend that this case be dismissed on the grounds the claims asserted are

frivolous, fantastic, fanciful, or delusional and fail to state claims upon which relief can be granted.

Further, I recommend the following specific actions by the District Court:

        1. The Court should DENY Plaintiff Eric Flores's Motion to Transfer Multi district Litigation

(ECF No. 2).

        2. The Court should DISMISS WITH PREJUDICE Plaintiff Eric Flores's complaint in this

matter as frivolous.


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       3. Based on Flores’s history of frivolous and bad faith filings in the Western District of

Texas, and now in this Court, the Court should sanction Plaintiff Eric Flores $350.00 for his

frivolous filing in this case, which would be in addition to the $350.00 previously imposed by Judge

Hickey.

       4. The Court should BAR Plaintiff Eric Flores from filing any further complaint or petition

in this Court without first satisfying the total of $700.00 in sanctions imposed by this Court in this

case and in Cause No. 4:12-4144. Further, the Court should BAR Plaintiff Eric Flores from again

seeking to proceed in forma pauperis in this Court.

       5. The Court should direct the Clerk’s Office of the Western District of Arkansas to accept

no further pleadings of any type from Plaintiff Eric Flores, until such time as he pays the total of

$700.00 imposed by this Court for the filing of frivolous complaints. Any pleading offered by

Flores to the Clerk of this Court should be immediately returned without filing absent proof

of payment of such sanctions. Any new complaint submitted by Flores should be returned

unless he has paid the $700.00 in sanctions AND submitted payment of the Court’s filing fee

for the new complaint submitted.

       Plaintiff has fourteen days from receipt of the report and recommendation in which to file

written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely objections may result

in waiver of the right to appeal questions of fact. Plaintiff is reminded that objections must be both

timely and specific to trigger de novo review by the district court.

       DATED this 1st day of April 2014.


                                                       /s/ Barry A. Bryant
                                                       HON. BARRY A. BRYANT
                                                       UNITED STATES MAGISTRATE JUDGE


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